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               IN THE UNITED STATES DISTRICT COTJRT
                   THE SOtITHERN DISTRICT OF GEORGIAUt
                                                       Fed n
                           WAYCROSS DIVISION
                                                     .
UNITEDSTATES OF AMERICA                                ____________________

V.

ARMAUND J. SIMS,                             CASE NO. CR507-21
BRIAN RAULS, and
URIEL AMAYA, JR.,

        Defendants.


                                ORDER
        After a careful de novo review of the record in this

case, the Court concurs with the Magistrate Judge's Report

and Recommendation (Doc. 71), to which no objections have

been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the

Court.
                            ,41'
        SO ORDERED this          day of August, 2008.




                               WILLIAM T. MOORE, JR., CHIEF JUDGE
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
